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  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-170 Hualalai Road, Suite B204
  Kailua-Kona, Hawai’i 96740
  Telephone: (808) 464-4047
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

  Attorney for Plaintiffs

                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

  Hunter Killer Productions, Inc. et al,    )   Case No.: 1:19-cv-00168-LEK-KJM
                                            )   (Copyright)
                      Plaintiffs,           )
       vs.                                  )   PLAINTIFFS’ SCHEDULING
                                            )   CONFERENCE STATEMENT;
  Qazi Muhammad Zarlish, et al.             )   CERTIFICATE OF SERVICE
                                            )
                      Defendants.           )   SCHEDULING CONFERENCE
                                            )   DATE: 7/11/2019 @ 9:00 AM
                                            )   BEFORE MAGISTRATE JUDGE
                                            )   KENNETH J. MANSFIELD
                                            )
                                            )
                                            )

                PLAINTIFFS’ SCHEDULING CONFERENCE STATEMENT

             Come now Plaintiffs, above-named, and hereby submit their scheduling

  conference statement pursuant to Rule 16.2 of the Local Rules of Practice for the

  United States District Court for the District of Hawaii.

  I.         NATURE OF THE CASE


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           Plaintiffs are the registered copyright owners of the following motion

  pictures:

                                                         Copyright Certificate
           OWNER               MOTION PICTURE
                                                              Number
         Hunter Killer
                                    Hunter Killer              PA2136168
        Productions, Inc.

  LHF Productions, Inc.          London Has Fallen             PA1982831

  TBV Productions, LLC              I Feel Pretty              Pau3896491

                                Once Upon a Time in
        Venice PI, LLC                                         PA2039391
                                      Venice
           Bodyguard                The Hitman’s
                                                              PAu3844508
        Productions, Inc.            Bodyguard


           The Defendants distribute the BitTorrent protocol software application

  “Show Box app” and promote it for the infringing purpose of “watching free

  movies”, including Plaintiffs’ copyright protected Works.

           Plaintiffs are suing Defendants for Copyright Infringement, Contributing to

  Copyright Infringement, Inducement, False Advertising, Unfair Competition and

  Deceptive Trade Practices. The Complaint [Doc. #1] was filed on April 3, 2019.

  II.      JURISDICTION AND VENUE

           Defendants are individuals and a legal entity (Pebblebridge Technologies,

  LLP) residing in Pakistan, India and Vietnam. However, Plaintiffs do not anticipate

  that there will be any meritorious disputes regarding jurisdiction or venue. This

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  Court has subject matter jurisdiction over this action pursuant to 17 U.S.C. §§ 101,

  et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question), 28 U.S.C. § 1338

  (patents, copyrights, trademarks, and unfair competition) and 28 U.S.C. § 1367

  (supplemental jurisdiction). Defendants have committed unlawful and tortious acts

  both within and outside this jurisdiction with the full knowledge that their acts

  would cause injury in this jurisdiction. As such, Defendants have sufficient

  contacts with this judicial district to permit the Court’s exercise of personal

  jurisdiction over each.

           In the alternative, the Court has jurisdiction pursuant to Fed. R. Civ. P.

  4(k)(2), the so-called federal long-arm statute because most of Plaintiffs’ claims

  arise under federal copyright law and Defendants purposely directed their

  electronic activity at the United States. Defendants Pebblebridge Technologies

  falsely advertises that it has an address in New York City. Complaint [Doc. #1] at

  ¶47. Defendants Pebblebridge Technologies and Vishnudath Reddy Mangilpudi

  used a fake name “Cheri E. Carlson” and a fake address in Sioux Falls, South

  Dakota to register the domains showbox.fun and show-box.pro with the US

  Registrar Namecheap. Defendants used United States Domain Registrars

  Namecheap, Namesilo and GoDaddy to register the domains. Defendants used

  United States Internet hosting provider Digital Ocean and Choopa to host their

  websites and carry out their illegal activities.


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           Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

  because: (a) all or a substantial part of the events or omissions giving rise to the

  claims occurred in this District; and (c)(3) any of the Defendants not a resident of

  the United States may be sued in this District.

  III.     DEMAND FOR JURY TRIAL

           Plaintiffs demanded a jury trial in the Complaint.

  IV.      INITIAL DISCLOSURES

           Defendants have refused Plaintiffs’ counsel’s multiple attempts to have a

  Rule 26 conference. Plaintiffs will submit their initial disclosures to Defendants

  after the respective Rule 26 conferences if the Defendants do not default.

  V.       DISCOVERY AND MOTIONS

           On June 14, 2019, Plaintiffs filed a motion to serve Defendant Hoan Pham

  by alternative means. [Doc. #21].

           Plaintiffs have not yet, but may in the future, file dispositive motions.

  VI.      SPECIAL PROCEDURES

           As explained below, Plaintiffs request that the scheduling conference be

  postponed or continued for two months at which time Plaintiffs can advise the Court

  on the progress of serving the Defendants.




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           In the event that Defendants default, Plaintiffs request to be permitted to

  submit a first Motion for Default Judgment asserting liability, and then submit a

  second Motion for Damages if the Court accepts the first motion. That is, Plaintiffs

  request to separate the issue of liability and damages.

  VII. RELATED CASES

           In the civil action 1:18-cv-00192-LEK-RT some of the same Plaintiffs in this

  case are asserting intentional inducement, contributory infringement and direct

  infringement of their motion pictures based upon the BitTorrent protocol application

  Show Box against different Defendants. Accordingly, Plaintiffs are indicating this

  case as a related case.

  VIII. ADDITIONAL MATTERS

           Defendant Qazi Muhammad Zarlish provided a waiver of service dated

  April 23, 2019 giving him until July 3, 2019 to answer the Complaint [Doc. #12].

  Defendant Qazi Muhammad Zarlish has not answered the Complaint nor appeared.

  It appears that he intends to default.

           Plaintiffs’ counsel sent the Complaint, Summons and Scheduling Order to

  the Central Authority of India to effect service of Defendants Pebblebridge

  Technologies, LLP and Vishnudath Reddy Mangilpudi on April 8, 2019.

  Plaintiffs’ counsel received an email from Defendant Vishnudath Reddy

  Mangilpudi on June 5, 2019 in which he stated he “…just got a copy of this court
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  complaint.” However, Plaintiffs’ counsel has not yet received the certificates from

  the Central Authority of India. Nonetheless, more than 21 days have passed since

  Defendant Vishnudath Reddy Mangilpudi stated he received the Complaint.

  Accordingly, it appears that he intends to default.

           Defendant Nghi Phan Nhat was served by foreign mailing on June 5, 2019.

  Defendant Nghi Phan Nhat exchanged multiple emails with Plaintiffs’ counsel on

  June 14-16, 2019. Nonetheless, more than 21 days and Defendant Nghi Phan Nhat

  has not answered the Complaint nor appeared. It appears that he intends to default.

           Accordingly, Plaintiffs request that the scheduling conference be postponed

  or continued for two months until September 11, 2019 at which time Plaintiffs can

  advise the Court on the progress of serving the Defendants. If all Defendants have

  defaulted, a scheduling conference will be unnecessary.


           DATED: Kailua-Kona, Hawaii, July 3, 2019.


                                    CULPEPPER IP, LLLC


                                    /s/ Kerry S. Culpepper
                                    Kerry S. Culpepper

                                    Attorney for Plaintiffs




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